

Matter of Scott T. v Jefferson County Dept. of Social Servs. (2025 NY Slip Op 02451)





Matter of Scott T. v Jefferson County Dept. of Social Servs.


2025 NY Slip Op 02451


Decided on April 25, 2025


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on April 25, 2025
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: WHALEN, P.J., BANNISTER, OGDEN, NOWAK, AND KEANE, JJ.


152 CAF 23-01956

[*1]IN THE MATTER OF SCOTT T., PETITIONER-APPELLANT,
vJEFFERSON COUNTY DEPARTMENT OF SOCIAL SERVICES, NAOMI GARCIA-HENRIQUEZ, AND SAVANNAH ADAMS, RESPONDENTS-RESPONDENTS. (APPEAL NO. 2.) 






PETER J. DIGIORGIO, JR., UTICA, FOR PETITIONER-APPELLANT. 
SEAN R. STERLING, WATERTOWN, FOR RESPONDENTS-RESPONDENTS.
SCOTT A. OTIS, WATERTOWN, ATTORNEY FOR THE CHILDREN. 


	Appeal from an order of the Family Court, Jefferson County (Eugene J. Langone, Jr., J.), entered September 21, 2023. The order dismissed the petition. 
It is hereby ORDERED that the order so appealed from is unanimously affirmed without costs.
Same memorandum as in Matter of Aubrey M.T. (Scott W.T., Jr.) ([appeal No. 1] — AD3d — [Apr. 25, 2025] [4th Dept 2025]).
Entered: April 25, 2025
Ann Dillon Flynn
Clerk of the Court








